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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

Tiffany Milan Investments, LLC          §
Plaintiff,                              §
                                        §
v.                                      §      CIVIL ACTION NO. 4:24−cv−00962
                                        §
Merchants Mortgage & Trust              §
Corporation, LLC                        §
Defendant.                              §


       Correspondence Regarding Plaintiff’s Counsel’s Failure to Appear at
                     April 2, 2024 Pre-Motion Conference

TO THE HONORABLE MAGISTRATE JUDGE ANDREW EDISON:



As ordered by Honorable Magistrate Judge Andrew Edison, the following is

intended to apologize and explain my absence at the pre-motion conference

scheduled for April 2, 2024 in the above referenced matter. My failure to appear

resulted from an administrative error inasmuch as the hearing was not placed on

Plaintiff’s counsel’s hearing. Additionally, at or about the time of the above

referenced hearing, counsel for Plaintiff was participating in a Harris County District

Court criminal matter. (Case No.: 1761203: State vs. Melanie Parks; In The 482 nd

Judicial District Court, Harris County, Texas. Plaintiff’s counsel failure to attend the

April 2, 2024 pre-motion conference with not intentional or done with a conscious

disregard to the Court’s order.
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      This is written with my most sincere apology. Your attention to this case is

greatly appreciated.




                   Respectfully Submitted:

                   /s/ Eric L. Rhodes
                   Eric L. Rhodes
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